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   VIA ECF

   The Honorable Peter G. Sheridan, U.S.D.J.
   United States District Court for the District of New Jersey
   Clarkson S. Fisher Building & U.S. Courthouse
   402 East State Street
   Trenton, New Jersey 08608

   Re:          Hargrove, et al. v. Sleepy’s, LLC, Case No. 3:10-cv-01138-PGS-LHG

   Dear Judge Sheridan:

   We represent Sleepy’s, LLC in the above-referenced matter. On October 15, 2018, Your Honor
   ordered the parties to advise the Court “whether this case should be administratively terminated
   until the Bankruptcy action is terminated.” On behalf of Sleepy’s, LLC, we respectfully request
   that this matter not be administratively terminated pending a resolution of the Bankruptcy
   action. Sleepy’s is not in liquidation, it is in restructuring. We expect this process to be
   complete by the end of the year.

   Respectfully submitted,


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   /s! ,QoatAae 4. Sa’
   Jonathan L. Shaw

   cc:          Theo E.M. Gould, Esq.
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